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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


 MICHELLE PAYMENT,

        Plaintiff,
                                                        Case No. 2:19-cv-192
 v.
                                                        HONORABLE PAUL L. MALONEY
 COMMISSIONER OF SOCIAL SECURITY,

       Defendant.
 ______________________________________/


               ORDER ADOPTING REPORT AND RECOMMENDATION

       Plaintiff seeks judicial review of a decision of the Administrative Law Judge (“ALJ”). 42

U.S.C. § 405(g). The matter was referred to the Magistrate Judge, who issued a Report and

Recommendation on August 12, 2020, recommending that this Court affirm the ALJ’s decision.

The Report and Recommendation was duly served on the parties. No objections have been filed.

See 28 U.S.C. § 636(b)(1). Therefore,

       IT IS HEREBY ORDERED that the Report and Recommendation of the Magistrate

Judge (ECF No. 10) is APPROVED and ADOPTED as the Opinion of the Court, and the decision

of the ALJ is AFFIRMED.

       A Judgment will be entered consistent with this Order.




Dated: August 28, 2020                                     /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge
